              Case 2:23-cv-01879-JLR Document 37 Filed 02/20/24 Page 1 of 4




 1                                                                  The Honorable James L. Robart
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 6
                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8
   AMAZON.COM, INC., a Delaware corporation,
 9 AMAZON.COM SERVICES LLC, a Delaware
                                                         No. 2:23-cv-01879-JLR
10 limited liability company, and AMAZON
   TECHNOLOGIES, INC., a Nevada corporation,             STIPULATED PERMANENT
11                                                       INJUNCTION AS TO
                              Plaintiffs,                DEFENDANT SAI CHARAN
12                                                                       ___________
                                                         BEERAVELLI AND PROPOSED
           v.                                            ORDER
13
                                                         NOTED FOR CONSIDERATION:
14 Does 1-20, unknown parties doing business as          February 16, 2024
   “REKK,” and the following individuals: Oscar
15 Pineda, Janiyah Alford, Noah Page, Skylar             Without Oral Argument
   Robinson, William Walsh, Luke Colvin,
16 Alejandro Taveras, Andrew Ling, Brandon
   Sukhram, Charalampos Gkatzoulas, Cosmin
17 Sopca, Dylan Hinz, Eric Niezabytowski, Graham

18 Ferguson, Ivona Brazovskaja, James Garofalo,
   Jenny Tran, Johanes Kessel, Jorge Correa, Josh
19 Davis, Karcper Niepogoda, Olaf Booij, Ryan
   Bates, Sai Charan Beeravelli, Simone Antonio
20 Figura, Zachary Iguelmamene, and Zoha Ahmed,

21
                              Defendants.
22

23

24                                          STIPULATION
25         Plaintiffs Amazon.com, Inc., Amazon.com Services LLC, and Amazon Technologies,
26 Inc. (together, “Amazon”), and Defendant Sai Charan Beeravelli (“Beeravelli”) and (collectively

27 “Settling Parties”), by and through Amazon’s respective counsel of record and by Beeravelli’s

                                                                           Davis Wright Tremaine LLP
                                                                                    L AW O FFICE S
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          16th
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 1          The Court shall retain continuing jurisdiction over this matter for the limited purposes of

 2 enforcing the terms of the Settling Parties' settlement agreement and this Stipulated Permanent
 3   Injunction.

 4          IT IS SO ORDERED.

 5          DATED:      February 20, 2024

 6
 7                                                  A
                                                  The Honorable James L. Robart
 8                                                UNITED STATES SENIOR DISTRICT JUDGE
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                                                                               Davis Wright Tremaine LLP
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